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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                     ***

4

5
      UNITED STATES OF AMERICA,
6
                           Plaintiff,
7                                                        2:16-cr-00230-GMN-CWH
      vs.                                                ORDER
8     DONTE MCFRAZIER,
9                          Defendant.

10

11          Before the Court is the Motion to Approve Mr. McFrazier’s Request for Permission to Travel (ECF
12   No. 137).
13          Accordingly,
14          IT IS HEREBY ORDERED that any response to the Motion to Approve Mr. McFrazier’s Request
15   for Permission to Travel (ECF No. 137) must be filed on or before noon, Wednesday, November 15, 2017.
16   No reply necessary.
17          IT IS FURTHER ORDERED that a hearing on the Motion to Approve Mr. McFrazier’s Request
18   for Permission to Travel (ECF No. 137) is scheduled for 3:00 PM, November 15, 2017, in Courtroom 3D.
19          DATED this 13th day of November, 2017.
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20
                                                               CAM FERENBACH
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                                                               UNITED STATES MAGISTRATE JUDGE

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